                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION
_______________________________________

STATE OF TEXAS


                  Plaintiff,

  v.                                      Case No. 6:21-cv-00003

UNITED STATES OF AMERICA, et al.,

                  Defendants.
_______________________________________



                  AMICUS BRIEF IN SUPPORT OF DEFENDANTS
   I.      THE “SAFE” AGREEMENT IS UNENFORCEABLE.

        After the last election, and days before the new Administration was inaugurated, the prior

Administration signed an agreement with Texas purporting to bind the federal government to

make no changes to immigration enforcement for six months unless Texas agreed to such

changes. Texas asserts that injunctive relief (and only injunctive relief) is appropriate under the

agreement. But the agreement is not enforceable in this Court or any other, because the doctrine

of Sovereign Immunity categorically bars any such injunction.

        “In order to hale the federal government into a court proceeding, a plaintiff must show

that there has been a valid waiver of sovereign immunity.” Lewis v. Hunt, 492 F.3d 565, 570

(5th Cir. 2007). “The absence of such a waiver is a jurisdictional defect.” Id. “A waiver of the

Federal Government’s sovereign immunity must be unequivocally expressed in statutory text . . .

and will not be implied.” Id. (emphasis added) (quoting Lane v. Pena, 518 U.S. 187, 192

(1996)). “[A]greement . . . between parties and their counsel is not sufficient to constitute a

waiver of sovereign immunity.” Id.

        There is no waiver of sovereign immunity for equitable enforcement of a contract with

the United States, so this Court cannot entertain Texas’s claims relating to the SAFE agreement.

See Robbins v. U.S. Bureau of Land Mgmt., 438 F.3d 1074, 1082 (10th Cir. 2006). As many

circuits have held, “the Tucker and Little Tucker Acts ‘impliedly forbid’ federal courts from

ordering declaratory or injunctive relief, at least in the form of specific performance, for contract

claims against the government.” Id. (collecting cases from the First, Second, Third, Ninth, and

D.C. Circuits); see also Larson v. Domestic & Foreign Commerce Corp., 337 U.S. 682, 704

(1949) (“There are the strongest reasons of public policy for the rule that such relief cannot be

had against the sovereign. The Government as representative of the community as a whole,



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cannot be stopped in its tracks by any plaintiff who presents a disputed question of property or

contract right.”).

        Most critically here, the Fifth Circuit has expressly so held. See Alabama Rural Fire Ins.

Co. v. Naylor, 530 F.2d 1221, 1229–30 (5th Cir. 1976). As the Circuit explained: “The

gravamen of Alabama Rural’s complaint is a claim for breach of contract . . . . Congress

specifically waived sovereign immunity when it established the Court of Claims and vested in

that court jurisdiction over actions ex contractu against the United States, but limited that waiver

by giving that court jurisdiction only to award damages, deliberately withholding equitable

powers from it.” Id. (citation omitted). Thus, the Circuit refused to hold “that the district court

had jurisdiction under the [Administrative Procedure Act] to exercise its equitable powers so as

in effect to compel the United States to perform the disputed contract.” Id. at 1230. That is

precisely what Texas seeks.

        There are numerous other reasons that the SAFE agreements are invalid and

unenforceable. See generally United States v. Winstar Corp., 518 U.S. 839 (1996) (addressing

various doctrines that limit contracts which purport to constraint the future sovereign power of

the government). Indeed, approving this agreement would set a deeply problematic precedent.

If an outgoing DHS official can sign away the next administration’s policymaking authority for

six months, why not for four years? Or eight? If DHS can do so, why not the Environmental

Protection Agency, the Department of Energy, and every other federal agency? And if they can

contract with Texas, why not with an individual—or the ACLU? Our Constitution directs that

presidential elections occur every four years, with the Executive authority transferring shortly

thereafter. But on Texas’s view, an outgoing administration need never yield power so long as it

finds a willing contractor to lock in its policy preferences.



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          But the Court need not reach such weighty issues, or any of the other problems with the

validity of the contract at issue here. As a matter of black letter law, the federal government has

not waived sovereign immunity over Texas’s effort to obtain injunctive relief based on a

contract, and this Court therefore lacks subject matter jurisdiction.

    II.      TEXAS LACKS STANDING AND CANNOT SHOW THE IRREPARABLE
             HARM REQUIRED FOR A TRO.

          Without the invalid agreement, Texas’s standing and irreparable harm arguments fall

apart.

          Texas has failed to demonstrate any cognizable injury, much less the kind of

extraordinary and immediate harm required for a TRO. To have standing, a “plaintiff must

establish a ‘personal stake’ in the dispute and that the injury is particularized to him. The injury

cannot be one suffered by the citizens at large.” Donelon v. Louisiana Div. of Admin. Law ex rel.

Wise, 522 F.3d 564, 566 (5th Cir. 2008) (internal citations omitted). Moreover, a plaintiff’s

alleged future injuries cannot be “too speculative to satisfy the well-established requirement that

threatened injury must be ‘certainly impending.’” Clapper v. Amnesty Intern. USA, 568 U.S.

398, 401 (2013).

          Texas fails by every measure. It has not shown that it will face any harm because certain

people with orders of removal that became final by November 1, 2020, will remain in the United

States during the 100-day pause. Instead, it offers only generalized evidence totally divorced

from the particular DHS order and timeframe at issue here, and asks the court to simply assume

that some unknown number of people who would be removed but for the pause will instead

impose costs on Texas. But assumptions, speculation, and generalized statistics do not establish

standing.




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       Crane v. Johnson, 783 F.3d 244, 252 (5th Cir. 2015), in which the Fifth Circuit held that

the State of Mississippi lacked standing to challenge the Department of Homeland Security’s

deferred action program, is instructive here. In that case, Mississippi asserted that it would be

monetarily injured by the deferred action program because a 2006 study showed that

undocumented people cost the state of Mississippi more than $25 million per year, and the

deferred action program authorized some undocumented individuals to remain in the state. Id.

The Fifth Circuit rejected this argument, holding that Mississippi had failed to “demonstrate that

the state will incur costs because of the DACA program.” Id. (emphasis added). Mississippi did

not provide any evidence, in that case, as to costs regarding DACA applicants in particular. As a

result, its “claim of injury [wa]s not supported by any facts” and was “purely speculative.” Id.

       The exact same is true here. The State of Texas cites only general statistics regarding the

purported cost to the state of certain services—emergency medical care, the Family Violence

program, perinatal care, and education—for undocumented individuals generally. See Motion

for TRO at 16-17. This is precisely the type of evidence the Fifth Circuit rejected in Crane. It is

not particularized in any way to the people affected by the January 20 memorandum. Indeed, as

the State conceded at argument, its declarations are from a prior lawsuit—from 2018—which

was filed long before the current policy was established. Standing is never dispensed as a matter

of assumption and speculation; it certainly should not be here, where Texas seeks to halt a

national initiative of a days-old Administration.

       Finally, even if Texas’s generalized statistics were enough for standing, they come

nowhere near the showing of immediate, irreparable harm required for the extraordinary relief of

a TRO without full briefing from the federal government. See California Ass'n of Private

Postsecondary Sch. v. DeVos, 344 F. Supp. 3d 158, 170 (D.D.C. 2018) (“A prospective injury



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that is sufficient to establish standing, however, does not necessarily satisfy the more demanding

burden of demonstrating irreparable injury.”); Hodgers-Durgin v. de la Vina, 199 F.3d 1037,

1042 (9th Cir. 1999) (en banc) (similar).

   III.      DHS HAS BROAD DISCRETION TO DEFER REMOVAL EVEN WHERE A
             FINAL REMOVAL ORDER HAS BEEN ISSUED.

           Texas primarily bases its merits and harm arguments on the Agreement, which is

straightforwardly unenforceable as explained. Nevertheless, its other claims also fail. While

Amicus will not address each claim in this brief, given the constraints of time, we wish to briefly

correct certain misstatements regarding immigration law expressed during the temporary

restraining order argument that are particularly relevant to Texas’s 8 U.S.C. § 1231(a) claim.

          A removal order is not (like a court order) a directive to DHS to removal an individual.

Rather, it is an administrative order which permits removal; a noncitizen cannot be removed until

a final removal order is in place. But DHS has broad discretion regarding the decision whether

to execute a final removal order at any given time. Indeed, a “principal feature of the removal

system is the broad discretion exercised by immigration officials.” Arizona v. United States, 567

U.S. 387, 396 (2012).

          In fact, while Texas makes much of a provision establishing a 90-day “removal period”

during which the government “shall detain the alien,” 8 U.S.C. § 1231(a)(1), (2), longstanding

regulations make perfectly clear that DHS “may grant a stay of removal or deportation” to “an

alien under a final order of deportation or removal” “for such time and under such conditions as

[the agency] may deem appropriate.” 8 C.F.R. § 241.6; see also 8 C.F.R. § 1241.6(a) (“An alien

under a final order of deportation or removal may seek a stay of deportation or removal from the

Department of Homeland Security as provided in 8 CFR 241.6.”); ICE Form 246,

https://www.ice.gov/doclib/forms/i246.pdf (“A decision in a stay of deportation or removal

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application is within the sole discretion of the Secretary of Homeland Security or his or her

designee, including the Field Office director. You may not appeal his or her decision.”). And in

fact, DHS has previously provided, on a categorical basis, stays of removal for applicants for U

visas (visas available to victims of qualifying crimes)—pursuant to its own discretionary

authority to stay removals. See, e.g., United States v. Cisneros-Rodriguez, 813 F.3d 748, 761 (9th

Cir. 2015) (describing DHS’s categorical exercise of discretion in staying removals for U visa

applicants with final orders of removal).

       In other words, “[o]nce an order of removal has become final, it may be executed at any

time”—but it is still possible for “the Executive Branch to stay its own hand.” Nken v. Holder,

556 U.S. 418, 439-40 (2009) (Alito, J., dissenting). The executive branch—including the

Department of Homeland Security—has long exercised discretion in pausing or staying removal,

including on a categorical basis. Section 1231 has never been understood to limit this

longstanding feature of immigration law. See 8 U.S.C. § 1231(a)(3) (acknowledging that some

aliens will “not [be] removed within the removal period”); id. § 1231(a)(6) (same); see also

Sierra Club v. Whitman, 268 F.3d 898, 906 (9th Cir. 2001) (relying on Escoe v. Zerbst, 295 U.S.

490, 493-94 (1935) and holding that statutory language requiring that the EPA Administrator

“shall issue an order requiring” compliance or “shall bring a civil action” “does not create

mandatory enforcement duties”). Texas’s TRO motion provides no basis to upend these features

of our immigration system that have been in place for decades.

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                                              Respectfully submitted,

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                           CERTIFICATE OF COMPLIANCE

       The undersigned counsel certifies that the total number of words in the Amicus Brief,

exclusive of the matters designated for omission, is 1,834 words as counted by Microsoft Word

Software.



                                          /s/ Andre Segura
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